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                                         U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    October 22, 2019


BY ECF

Honorable Richard M. Berman
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007

    Re:    United States v. Turkiye Halk Bankasi, A.S.,
           S6 15 Cr. 867 (RMB)

Dear Judge Berman,

        In accordance with the Court’s direction at today’s initial appearance in this matter, the
Government respectfully submits the attached proposed order regarding service of the summons
on Turkiye Halk Bankasi, A.S. (“Halkbank” or the “defendant”) and Halkbank’s knowing and
intentional failure to appear (Exhibit A).

        Also attached for the Court’s consideration in connection with the proposed order are:
(1) an Investor Relations Disclosure by Halkbank dated October 16, 2019, and available on
Halkbank’s website1 (Exhibit B); (2) an article dated October 16, 2019 published by the Financial
Times, Erdogan attacks ‘ugly’ US decision on Turkey Halkbank (Exhibit C); (3) an article dated
October 17, 2019 published by CNN, Pence says Turkey raised Halkbank indictment after
negotiations concluded (Exhibit D); (4) an article dated October 20, 2019 published by Reuters,
Turkey says nothing will come of Halkbank case if law in U.S. works (Exhibit E); and (5) a
proposed second Summons in a Criminal Case.

        With respect to the date of the Second Conference, the Government respectfully suggests
that a date of Friday, November 1, 2019, would provide adequate time for notice of the Court’s




1
  Available at https://www.halkbank.com.tr/images/channels/English/investor_relations/
Disclosure_of_Events/2019/oct/Oct%2016%202019-Indictment%20Against%20
the%20Bank%20by%20U_S_%20Attorney's%20Office%20for%20the%20Southern%20District
%20of%20New%20York%20.pdf (last visited October 22, 2019).
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order to the defendant and for the defendant to comply with the second summons and proposed
Order.


                                            Respectfully submitted,

                                            GEOFFREY S. BERMAN
                                            United States Attorney


                                      by:               /s/
                                            Michael D. Lockard/Sidhardha Kamaraju/David W.
                                            Denton, Jr./Jonathan Rebold/Kiersten Fletcher
                                            Assistant United States Attorneys
                                            (212) 637-2193/6523/2744/2512/2238


cc:    Counsel of record (by ECF)
